Case 2:24-cv-02437-KHV-GEB Document10-2 Filed 03/10/25 Pagelof1

Ce. UNITED STATES DISTRICT COURT
F Dra < DISTRICT OF KANSAS
e. Pro Hac Vice Electronic Filing
ars as Registration Form
Name: Clhuigtien Clase
Office: Center Gr Erdivideet BiaghtS
Address: if Joo Connecter Ave wb
Address: Suye Gas -bbesmpte D6 Dees:
City: Wesning ton Stale: DO Zip: _xo036
Office Phone: Roar- 833- Brisco Ext.: 5 Fax: a

StateBar# “T-enneseece sie OH) aS

Attorney's Internet E-mail Address: Cc lease Z. Cic-VUSA. Ora

Additional email addresses that should receive Notices of Electronic Filing: — —

;, Each attorney applying for pro hac vice admission must complete and sign an Electronic Filing
Registration Form and file it as an attachment to the motion for pro hac vice admission. You will receive system-generated notices of
electronic filings and documents may be retrieved electronically through PACER. The District of Kansas does not permit attorneys
admitted pro hac vice to file documents electronically. Local counsel is responsible for all filings.

By registering, | consent to electronic service of all documents. | certify that | am a member in good standing of the bar of all courts where | am
admitted. | am applying for or have been granted admission pro hac vice and | have read and am familiar with the rules of practice and the

administrative procedures guide governing electronic filing, both which may be found at www.ksd.uscourts.gov. | agree to abide by the rules and
regulations in the most recent general order currently in effect and any changes or additions that may be made in the future to the general order,

the administrative procedures guide or this court's local rules.

Attach completed form to motion for leave to appear pro hac vice.

3/6 / Aoas Oe.

Date Applicant's Signature
Note: You must sign this form with your original wet” signature. The *s/ typed name" format s not allowed here,

If you have questions about this form or the pro hac vice admission process, please contact the Attorney Registration clerk at

913-735-2229 or ksd_ attorney registration@ksd.uscourts.gov.

